                                                              Case 2:21-mc-01070-DSF-KS Document 2 Filed 09/30/21 Page 1 of 3 Page ID #:65




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                                                                      9 Attorneys for Plaintiff Roslyn La Liberte
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                                                                     11                        UNITED STATES DISTRICT COURT
PAYNE & FEARS LLP
               200 N. PACIFIC COAST HIGHWAY, SUITE 825




                                                                     12                      CENTRAL DISTRICT OF CALIFORNIA
                    EL SEGUNDO, CALIFORNIA 90245




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                                                                     14 ROSLYN LA LIBERTE,                          Case No. 2:21-mc-1070
                                                                     15               Plaintiff,                    CORPORATE DISCLOSURE
                                                                                                                    STATEMENT OF PLAINTIFF
                                                                     16         v.                                  ROSLYN LA LIBERTE
                                                                     17 JOY REID,                                   (FED. R. Civ. P. 7.1 and
                                                                                                                    C.D. Cal. L.R. 7.1-1.)
                                                                     18               Defendant.
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                                                                                     Plaintiff Roslyn La Liberte’s Corporate Disclosure Statement
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                                                                      1                            Corporate Disclosure Statement
                                                                      2

                                                                      3         Pursuant to Rule 7.1 of the Federal Rules of Civil Procedure, Plaintiff Roslyn
                                                                      4 La Liberte declares that she is an individual. Plaintiff further declares, pursuant to

                                                                      5 Central District of California Local Rule 7.1-1, that to Plaintiff’s knowledge no

                                                                      6 insurance carrier may be liable, directly or indirectly, for any judgment in this action

                                                                      7 or the costs of defense, and that no persons or entities other than the parties to this

                                                                      8 action have a pecuniary interest in the outcome of this matter.

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                                                                     11 Dated: September 30, 2021                    /s/ Scott O Luskin
PAYNE & FEARS LLP




                                                                                                                 Scott O. Luskin
               200 N. PACIFIC COAST HIGHWAY, SUITE 825




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                                                                     17                                          and
                                                                     18
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                                                                     19

                                                                     20                                          Attorneys for Plaintiff
                                                                                                                 Roslyn La Liberte
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                                                                                      Plaintiff Roslyn La Liberte’s Corporate Disclosure Statement
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                                                                      1                                 Certificate of Service
                                                                      2

                                                                      3        The undersigned certifies that a true and correct copy of the foregoing
                                                                      4 Corporate Disclosure Statement of Plaintiff Roslyn La Liberte was served on

                                                                      5 September 30, 2021, on the interested parties in this action, via the United States

                                                                      6 District Court’s CM/ECF system, on all parties or persons requiring notice.

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                                                                      8                                            /s/ Scott O. Luskin
                                                                                                                   Scott O. Luskin
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                                                                                     Plaintiff Roslyn La Liberte’s Corporate Disclosure Statement
